         Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RAMONA THURMAN BIVINS,                        )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )
                                              )
FELICIA FRANKLIN, in her individual           )     CIVIL ACTION FILE NO.:
and official capacities;                      )     1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual            )
and official capacities;                      )
GAIL HAMBRICK, in her individual              )
and official capacities; and                  )
CLAYTON COUNTY, GEORGIA,                      )
                                              )
        Defendants.                           )

   DEFENDANT ALIEKA ANDERSON’S CONSENT MOTION AND
PROPOSED ORDER FOR AN EXTENSION OF TIME TO FILE REPLY IN
 SUPPORT OF HER MOTION FOR JUDGMENT ON THE PLEADINGS

     COMES NOW, Defendant ALEIKA ANDERSON (hereinafter “Anderson”),

by and through her undersigned counsel, and hereby files this Consent Motion, and

moves this Court for an Order extending the time period for their Reply in Support

of her Motion for Judgment on the Pleadings [Doc. 29], through and including

February 3, 2023, showing the Court as follows:

     On October 17, 2022, Plaintiff filed her initial Complaint for Damages

and Injunctive Relief against Defendants Felicia Franklin (“Franklin”), in her

individual and official capacities, Anderson in her individual
        Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 2 of 8




and official capacities, Gail Hambrick, in her individual and official capacities, and

Clayton County, Georgia. [Doc. 1]. In turn, on November 22, 2022, Anderson

filed her Answer to Plaintiff’s Complaint. [Doc. 19]. Then, on December 23,

2022, Anderson filed a motion for judgment on the pleadings. [Doc. 29] On

January 12, 2023, Plaintiff filed her response brief in opposition to Anderson’s

motion. [Doc. 34]. Anderson’s reply brief is currently due on or before January

27, 2023.

      Counsel for Anderson now respectfully requests a seven (7) day extension

on the due date -- until February 3, 2023 -- for the reply brief. Counsel for

Anderson has deadlines in other cases around January 27, 2023, and has conferred

with counsel for Plaintiff regarding the 7-day extension. Counsel for Plaintiff has

agreed to the extension. The requested extension will not prejudice any party and

is sought in good faith and not for the purposes of delay or any other purpose

contrary to the Federal Rules of Civil Procedure and the Local Rules of this Court.

      WHEREFORE, Anderson respectfully requests the Court grant her

Motion for an Extension of Time to file the Reply in Support of their Motion for

Judgment on the Pleadings, extending the deadline to February 3, 2023.

A proposed Order is attached herewith.

       Respectfully submitted this 23th day of January, 2023.


                                          2
      Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 3 of 8




                                 GREGORY, DOYLE,
                                 CALHOUN, & ROGERS, LLC
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                                    3
       Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 4 of 8




                      CERTIFICATION OF COUNSEL

     The undersigned pursuant to this Court’s Local Rules hereby certifies that this

document has been prepared with Times New Roman 14 point.

     This 23th day of January, 2023.


                                       GREGORY, DOYLE,
                                       CALHOUN, & ROGERS, LLC
                                       Attorneys for Defendant Anderson

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                                         4
        Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 5 of 8




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              FOR THE NORTHERN DISTRICT OF GEORGIA
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RAMONA THURMAN BIVINS,                         )
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      Plaintiff,                               )
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and official capacities;                       )
GAIL HAMBRICK, in her individual               )
and official capacities; and                   )
CLAYTON COUNTY, GEORGIA,                       )
                                               )
      Defendants.                              )

                          CERTIFICATE OF SERVICE
I hereby certify that on January 23, 2023, I electronically filed DEFENDANT

ALIEKA ANDERSON’S CONSENT MOTION AND PROPOSED ORDER

FOR AN EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF HER

MOTION FOR JUDGMENT ON THE PLEADINGS with the Clerk of Court

using the CM/ECF system which will automatically send email notification of such

filing to the following attorneys of record:

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      Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 6 of 8




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                                    6
       Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 7 of 8




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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RAMONA THURMAN BIVINS,                       )
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      Plaintiff,                             )
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GAIL HAMBRICK, in her individual             )
and official capacities; and                 )
CLAYTON COUNTY, GEORGIA,                     )
                                             )
      Defendants.                            )


                              [PROPOSED] ORDER
      This matter is before the Court on Defendant Anderson’s Consent Motion

for an Extension of Time to File Reply to in Support of the Motion for Judgment

on the Pleadings. Plaintiff having consented to it, and for good cause shown, the

Motion is GRANTED. Defendant’s deadline to file her reply in support of her

Motion for Judgment on the Pleadings [Doc. 29] is extended to February 3, 2023.

IT IS SO ORDERED, this ____ day of January, 2023.

___________________________________
HONORABLE WILLIAM RAY
UNITED STATES JUDGE
NORTHERN DISTRICT OF GEORGIA
                                         7
            Case 1:22-cv-04149-WMR Document 38 Filed 01/23/23 Page 8 of 8




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